Case 2:04-cV-02744-.]DB-tmp Document 9 Filed 06/21/05 Page 1 of 2 Page|D 20

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JOHNNIE D. GOODWIN, JUDGMENT IN A CIVIL CASE
Plaintiff,

v.

WEPFER MARINE, INC., CASE NO: 04-2744-B
Defendant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Stipulation Of Dismissal
entered on June 20, 2005, this cause is hereby dismissed with prejudice.

AP ROVED:

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Date Clerk of Court

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Honorable J. Breen
US DISTRICT COURT

